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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                      CASE NO. 20-23463-CIV-COOKE/GOODMAN

  MARIA PEREZ-SERA,
      Plaintiff,

  v.

  CARNIVAL CORP.,
        Defendant.
  ______________________/

                   POST-STATUS HEARING ADMINISTRATIVE ORDER

        On July 1, 2022, the Undersigned held a Zoom videoconference status hearing on

  Defendant’s summary judgment motion [ECF No. 43] and Plaintiff’s spoliation sanctions

  motion [ECF No. 56]. For the reasons stated on the record, the Undersigned orders and

  adjudges as follows:

        The parties shall file a mediation report on CM/ECF within one (1) day following

  the mediation.

        DONE AND ORDERED in Chambers, in Miami, Florida, on July 4, 2022.




  Copies furnished to:
  The Honorable Marcia G. Cooke
  All Counsel of Record
